                  THE THIRTEENTH COURT OF APPEALS

                                    13-15-00269-CV


                                     Elvira J. Garcia
                                            v.
                            Patricia Elizabeth Holsey, et al.


                                  On appeal from the
                     135th District Court of Goliad County, Texas
                           Trial Cause No. 15-050243-CV


                                     JUDGMENT

      THE THIRTEENTH COURT OF APPEALS, having considered this cause on

appeal, concludes the appeal should be dismissed.         The Court orders the appeal

DISMISSED in accordance with its opinion. Costs of the appeal are taxed against

appellant.

      We further order this decision certified below for observance.

September 2, 2016
